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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

 UNITED STATES OF AMERICA

 v.
                                                     Case No. 4:21-CR-00268-O
 MARK FORKNER (01)



                 MOTION FOR JOINT JURY QUESTIONNAIRE
          AND UNOPPOSED MOTION FOR INDIVIDUAL QUESTIONING OF
        VENIREMEMBERS REGARDING EXPOSURE TO PRETRIAL PUBLICITY

         Defendant Mark Forkner moves this Court to submit a short jury questionnaire to potential

jurors. The government joins in this request, and the parties have agreed to the joint questionnaire

attached as Exhibit A.


         Mr. Forkner also moves that potential jurors be questioned about their exposure to pretrial

publicity individually, and outside the presence of other jurors, to avoid tainting the rest of the

venire. As set out below, this is appropriate in light of the emotional nature and intense publicity

of the Boeing 737 MAX tragedy. The government does not oppose this request.


      1. In 2018 and 2019, two 737 MAX planes crashed, killing 346 people and causing the

         grounding of thousands of flights, passengers, and employees. Mr. Forkner is the sole

         person charged with crimes related to the 737 MAX. He has not been charged with causing

         the crashes -- but he is charged with defrauding two major Northern District of Texas

         employers, American and Southwest Airlines. The indictment alleges that Mr. Forkner

         withheld information about the Boeing 737 MAX from part of the Federal Aviation
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       Administration (“FAA”) and intentionally schemed to defraud American and Southwest

       Airlines.

        2.     The crashes and groundings have spawned Congressional hearings, civil lawsuits,

TV documentaries, a book, and thousands of news articles. The media has specifically called out

Mr. Forkner by name. Early on, the media reported that he had taken the “Fifth Amendment” in

the DOJ investigation—which of course is inadmissible at trial. See Steve Miletich, Former

Boeing Official Subpoenaed in 737 MAX Probe Won’t Turn Over Documents, Citing Fifth

Amendment      Protection,    The     Seattle    Times      (Sep.     7,   2019,    8:37      AM),

https://www.seattletimes.com/business/boeing-aerospace/former-boeing-official-subpoenaed-in-

737-max-probe-wont-turn-over-documents-citing-fifth-amendment-protection/.         On November

30, 2021, Penguin Random House released a book highlighting Mr. Forkner’s role titled, Flying

Blind: the 737 MAX Tragedy and the Fall of Boeing. In September 2021, PBS released a Frontline

documentary doing the same titled, “Boeing’s Fatal Flaw.”

        3.     Various news reports—and reader/viewer comments thereto—have seemingly

prejudged Mr. Forkner’s guilt and made negative remarks about him. A sample of 10 articles and

attendant public comments from news media is attached as Exhibit B to this motion. Highlights

of public comments about Mr. Forkner include

          i.   “Good. Prison for life.” (Public Comment to Oct. 15, 2021 CNN article);

        ii.    “Put the friends, relatives and loved ones, from those who died, because of
               his lies, on the jury.” (Public Comment to Oct. 15, 2021 FOX News article);

        iii.   “…if he isn’t charged with murder, we may as well burn our law books
               as worthless.” (Public Comment to Oct. 14, 2021 Washington Post article);

        iv.    “Should be sentenced to life in prison for the death of 349 people.” (Public
               Comment to Oct. 14, 2021 Associated Press article);




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            v.   “I always wonder: how can people like him with blood on their hands sleep
                 well at night. Can they?” (Public Comment to Sept. 17, 2021 CBS News
                 article);

        vi.      “He should be in prison for mass murder.” (Public Comment to Sept. 14,
                 2021 PBS Frontline documentary);

        vii.     “Mark Forkner is the tip of the iceberg when it comes to Boeing employees
                 withholding key safety facts from the FAA. Their failures are criminal and
                 should be prosecuted as such. We’re effectively looking at 346 counts of
                 manslaughter for each of them.” (Public Comment to March 13, 2020 Wall
                 Street Journal article);

       viii.     “That is where Forkner actively participated in the crime of omitting
                 MCAS instructions in the training manual.” (Public Comment to December
                 24, 2019 Seattle Times article);

        ix.      “Probably unlike Forkner, I can come home and face my family at night.”
                 (Public Comment to September 7, 2019 Seattle Times article); and

         x.      “Sounds like Mark Forkner should be charged with manslaughter at the
                 least.” (Public Comment to June 1, 2019 New York Times article).

       4.        These comments warrant a questionnaire and individual voir dire. Even more

concerning is that a juror might convict Mr. Forkner of the charged crime, thinking he is guilty of

causing the crashes when he did not and has not been charged with doing so, and the crashes had

many confounding causes unrelated to Mr. Forkner.

       5.        Where there is a significant possibility of prejudice from pretrial publicity, a court’s

voir dire procedure must “provide a reasonable assurance that prejudice would be discovered if

present.” United States v. Pratt, 728 F.3d 463, 470 (5th Cir. 2013) (internal quotation marks and

footnote omitted), abrogated on other grounds by Molina-Martinez v. United States, 578 U.S. 189,

136 S. Ct. 1338, 1347–48 (2016).

        6.       In such cases, the court should determine what each juror has “heard or read” and

how that information affects the juror’s “attitude toward the trial”—and the court should determine




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for itself “whether any juror’s impartiality ha[s] been destroyed.” United States v. Davis, 583 F.2d

190, 196 (5th Cir. 1978). Put another way,

       when a juror is exposed to potentially prejudicial pretrial publicity, it is necessary
       to determine whether the juror can lay aside any impression or opinion due to the
       exposure. The juror is poorly placed to make a determination as to his own
       partiality. Instead, the trial court should make this determination.

Id. at 197 (holding that the district court erred when it asked no follow-up questions and made no

specific inquiries of any individual juror); see also United States v. Beckner, 69 F.3d 1290, 1294

(5th Cir. 1995) (applying Davis to reverse a conviction because the “district court’s voir dire did

not afford a reasonable assurance that prejudice would have been discovered if present”: the court

failed to ask “what” information jurors had received from pretrial publicity and “how” the

information affected jurors’ attitudes and perceptions and, instead, allowed jurors to decide their

own impartiality about pretrial publicity).

        7.     Though use of jury questionnaires and individual voir dire about pretrial publicity

is left to the Court’s discretion—see, e.g., Federal Rule of Criminal Procedure 24(a)—both the

United States Supreme Court and the Fifth Circuit have approved the use of these techniques in

high-profile cases with significant pretrial publicity.   A prominent example is United States v.

Skilling, 554 F.3d 529 (5th Cir. 2009) (“Skilling I”), vacated in nonrelevant part, Skilling v. United

States, 541 U.S. 358 (2010) (”Skilling II”). At issue in Skilling were events leading up to the

catastrophic collapse of Enron, which had received widespread news coverage.

        8.     The Fifth Circuit found that the district court voir dire was sufficient (and not

reversible error) because it had (1) submitted a 14-page jury questionnaire to the jury panel, which

was used for prescreening potential jurors; (2) conducted individual voir dire of the veniremembers

about their answers to the questionnaire (including exposure to pretrial publicity); and

(3) permitted follow-up questions by counsel. Skilling I, 554 F.3d at 562. The Supreme Court

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also approved of the district court’s jury-selection process. See Skilling II, 561 U.S. at 388–95.

The Court noted that the jury questionnaire “helped to identify prospective jurors excusable for

cause and served as a springboard for further questions put to remaining members of the array.”

Id. at 388. The Court also observed that “[t]he District Court conducted voir dire . . . aware of the

greater-than-normal need, due to pretrial publicity, to ensure against jury bias” by “examin[ing]

each prospective juror individually, thus preventing the spread of any prejudicial information to

other venire members.” 1 Id. at 389. The Skilling questionnaire—attached hereto as Exhibit C—

was 14 pages. It included questions crucial to targeting bias, such as whether the veniremember

had “an opinion about the cause of the collapse of Enron” (Question 39) or had “heard or read

about any of the Enron cases” (Question 41). Our joint proposed questionnaire is shorter and asks

similar, neutral questions.

        9.     In Pratt, another high-profile case, the Fifth Circuit also approved the district

court’s jury-selection process because it used “procedures [that] were substantially the same as

those in Skilling.” Pratt, 728 F.3d at 471. “The potential jurors completed an eight-page screening

questionnaire that included multiple questions about media exposure and bias. During voir dire,

the court questioned all potential jurors individually and out of the presence of the other potential

jurors about their ability to be impartial.” Id. at 471–72. Recognizing the efficacy of these

measures, district courts—both in the Fifth Circuit and outside it—have chosen to use jury




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         The Fifth Circuit long ago recognized that “[t]he safer practice in situations involving
possible prejudice from newspaper articles or other sources is to interrogate each juror separately
and out of the presence of the other jurors.” United States v. Scrimsher, 493 F.2d 848, 854 (5th
Cir. 1974) (footnote omitted). Similarly, while not requiring individual voir dire as a matter of
course, the Fifth Circuit, over four decades ago, noted that the American Bar Association
“recommend[ed] that . . . district court[s] examine each juror individually and out of the presence
of other jurors to determine what he heard or read and how it ha[d] affected his attitudes toward
the trial.” Davis, 583 F.2d at 196.
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questionnaires and individual voir dire as tools to ferret out possible bias in high-publicity cases.

See, e.g., United States v. Fthoui, Case No. 4:17-cr-20456, 2018 WL 4235091, at *1–*2 (E.D.

Mich. Sept. 6, 2018); United States v. Dimora, Nos. 1:10CR387 & 1:11CR491, 2011 WL 6318395,

at *5 (N.D. Ohio Dec. 16, 2011); United States v. Fastow, 292 F. Supp. 2d 914, 921 (S.D. Tex.

2003). (Copies of the unpublished opinions are attached as Exhibit D and E to this motion.)

        10.    A questionnaire can be administered efficiently. The best option is to mail the

questionnaire to potential jurors in advance, to be returned to the Court for review by counsel the

day before jury selection. Another option is for potential jurors to complete the questionnaire the

morning of jury selection and return after a reasonable amount of time to permit counsel to review

the responses before voir dire. Under this second option, counsel could bring a high-speed copier

to the courthouse to facilitate copying the questionnaires for review.

        11.    In our experience, a questionnaire also can facilitate agreement on challenges for

cause. That was what happened in the trial of the BP Deepwater Horizon Blowout (between Mr.

Gerger and members of the DOJ Fraud Section) and in Skilling. See, e.g., Skilling I, 554 F.3d at

562 (“After prescreening veniremembers based upon their responses to a fourteen-page

questionnaire, the parties mutually agreed to excuse 119 of them.”). 2

                                            *   *       *   *

       For the foregoing reasons, defendant Mark Forkner – joined by the government -- asks

that the Court submit the joint agreed jury questionnaire attached as Exhibit A. He also asks –

unopposed – the Court to conduct and allow individual voir dire of potential jurors (outside the




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      Individualized voir dire will serve a second purpose as well—to obtain honest answers
from potential jurors about how they feel participating in a trial during the ongoing COVID-19
pandemic.
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presence of the other veniremembers) on their exposure to, and reaction to, pretrial publicity

concerning this case and its subject-matter.




                                               Respectfully submitted,

                                               /s/ Jeff Kearney
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                         CERTIFICATE OF CONFERENCE

      We conferred with Cory Jacobs, Attorney of record for the Government. The
government joins the request for the Exhibit A questionnaire. The government does not
oppose the rest of the motion.

                                          /s/ Jeff Kearney
                                          JEFF KEARNEY



                            CERTIFICATE OF SERVICE

        I hereby certify this Motion was electronically filed, and Assistant United States
Cory Jacobs was electronically served via this Court’s Electronic Filing System on the day
of filing.


                                         /s/ Jeff Kearney
                                         JEFF KEARNEY




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